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                          IN   THE    UNITED       STATES        DISTRICT             COURT
                         FOR THE          EASTERN   DISTRICT              OF VIRGINIA
                                            Richmond Division


BHUPINDER SINGH,


        Plaintiff,

V.                                                          Civil           Action No.         3:23cv339


HARMANPREET         SINGH,
KULBIR KAUR and
ARMAAN VA CORP.            d/b/a
LOVELY MARKET,

        Defendants.


                                                    ORDER


        The     Court      has    received          a    letter            from       Satbir       Kaur       (marked


    Received"      July 3,       2024)       to which was attached a copy of a check
w




payable       to    Charles          R.     Samuels        and        a    Representation               Agreement

between Charles            R.    Samuels          and Kulbir Kaur dated April 30,                               2024

and     signed      by     Kaur        on    May     23,         2024.            The       letter      with     its


attachments          is    a     request           for     extension              of        certain       deadline

provisions of the ORDER entered herein on April 15,                                            2024       (ECF No.

18),    which,      inter alia,             allowed the defendants until May 31,                                2024

to     retain      counsel       and       file    Answers,           or,        as    to    the    defendants.

Harmanpreet Singh and Kulbir Kaur,                               to       file    a   Statement         of    Intent


to Proceed Pro Se and their Answers to the Complaint.                                                   The    Clerk


is    directed      to    file       the     letter      and      its       attachments            as     a   Letter


Motion for Extension of                     Time    (the         Letter Motion")               and to assign
                                                            \\




it    a docket      number.
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        Having considered the                      text       of       the    Letter Motion,          the    Court


finds       that       there    is     evidence          that          Kulbir       Kaur,    perhaps        acting

through          Satbir       Kaur,        retained        Charles             R.     Samuels,      Esquire     to

represent her,             and perhaps Harmanprett Singh,                               in this matter and

paid a deposit of at                   least       $1,500.00 toward the                     fee to be earned

by Mr.       Samuels.          The     Letter Motion                   recites      that,     the    clients    to


be represented were Harmanpreet Singh and Kulbir Kaur even though

the Representation Agreement mentions only Kulbir Kaur.

        The Court notes that the copy of the Representation Agreement

attached         to     the    Letter       Motion        is       not       signed    by   Mr.     Samuels    and

that there is no indication that Mr. Samuels negotiated the deposit

check of         $1,500.00.           Additionally,                the Letter Motion recites that

there have been two checks                      delivered to Mr.                    Samuels,      but only one

check       is   attached       to    the    Letter Motion.


        The docket            sheet in this          case reflects                  that,    because      the May

31,    2024      deadline       set        forth    in    the       ORDER       (ECF No.      18)    has passed

and     the       defendants           have        filed        no       responsive          pleadings.        the



plaintiff,             Bhupinder Singh,             filed          a    MOTION      FOR     ENTRY    OF   DEFAULT


(ECF No.         21)    and that,          on June 26,         2 024,        the Clerk entered an ENTRY

OF DEFAULT             (ECF No.      22).


        Considering the substance of the Letter Motion and the records

of    the    Court,       there       is    evidence       that          the    defendants,         Harmanpreet




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Singh     and      Kulbir          Kaur       retained         Charles       R.     Samuels,          Esquire           to

represent them before the MOTION FOR ENTRY OF DEFAULT {ECF No. 21)

was filed and before the ENTRY OF DEFAULT                                   (ECF No.        22)     was entered.


If    that   is the        case,        Mr.     Samuels has       allowed his clients                       to be in

default.           Under        the      circumstances            and       considering             the      current

status of          the    case,         it is hereby ORDERED that,                       by July 31,              2024,

Charles      R.     Samuels,            Esquire         shall:        (1)    note        his      appearance            as

counsel      of     record         for    Harmanpreet            Singh and Kulbir                   Kaur     in this

matter       and    file       a    motion         on    their    behalf          seeking.          as      to    them,

relief       from        the   ENTRY          OF   DEFAULT       (ECF       No.     22) ;      or     (2)        file    a

Statement in Response to the Letter Motion and the exhibits thereto

demonstrating that he has received no funds as represented in the

second       paragraph             of     the      Letter       Motion       and      did      not         sign     the

Representation Agreement attached thereto.

        Further,          it appears that Mr.                  Samuels has not provided for the

records of          the Court a telephone number at which he can actually

be    reached.       but       instead          has     provided       the        telephone         number         of    a

 lawyers           directory               service.               That        is         not        appropriate,

Accordingly, Mr. Samuels shall,                           by July 15, 2024,                 supply the Clerk

with his        office         telephone           number       and    the        cell    telephone              number

where he      can be           reached on any occasion without the Court having

to refer to a lawyers directory service.




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     The    Clerk     is   directed   to    send a copy of   this   ORDER to    the

defendants at their current facilities of incarceration;                 to Satbir

Kaur at the address         shown on the Letter Motion,         and to Charles R.

Samuels, Esquire via Notice of Electronic Filing                (NEF)   and mail to

the address he has         supplied to the Court.

     It    is   so   ORDERED.




                                                          /s/
                                           Robert E. Payne
                                           Senior United States District Judge




Richmond, Virginia
Date: July       2024




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